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MINUTE ENTRY FOR CRIMINAL PROCEEDING

BEFORE MAG. JUDGE Robert M. Levy DATE: 11/22/2023
DOCKET NUMBER: _23cr00383 (FB) LOG#: }2°3y- [200
DEFENDANT'S NAME : ABEL MORA

__X_ Present _ ~ Not Present _X Custody __ Bail
DEFENSE COUNSEL: Kannan Sundaram

_X___ Federal Defender __ CJA ___ Retained

A.U.S.A Emily Dean CLERK: SM Yuen
Probation : (Language)
_____ Defendant arraigned on the:____ indictment__ superseding indictment ___ probation violation

__ Defendant pleads NOT GUILTY to ALL counts.
__ Rule 5f Order read into the record.
_X_ BAIL HEARING Held. Defendant's first appearance.

Bond set at Defendant. __ released ___ held pending
satisfaction of bond conditions.
Defendant advised of bond conditions set by the Court and signed the bond.

Surety(ies) sworn, advised of bond obligations by the Court and signed the bond,
(Additional) surety/ies to co-sign bond by

After hearing, Court orders detention in custody. Leave to reopen granted

Temporary Order of Detention Issued. Bail Hearing set for

___ At this time, defense counsel states on the record that the defendant does not have a bail
application / package. Order of detention entered with leave to reapply to a Magistrate
or to the District Court Judge to whom the case will be assigned.

Order of Excludable Delay/Speedy Trial entered. Start Stop

Medical memo issued.

Defendant failed to appear; bench warrant issued.

____ Status conference set for @, before Judge
Other Rulings : bov ue ODE KE 4 ba fw VEASoWS state d OW Tip
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CGuvk denied bia) appl Drde x of Takandies Cridlivaaced

